26




     Case 19-10128   Doc# 40   Filed 02/26/19   Page 1 of 13
Case 19-10128   Doc# 40   Filed 02/26/19   Page 2 of 13
Case 19-10128   Doc# 40   Filed 02/26/19   Page 3 of 13
Case 19-10128   Doc# 40   Filed 02/26/19   Page 4 of 13
Case 19-10128   Doc# 40   Filed 02/26/19   Page 5 of 13
Case 19-10128   Doc# 40   Filed 02/26/19   Page 6 of 13
Case 19-10128   Doc# 40   Filed 02/26/19   Page 7 of 13
Case 19-10128   Doc# 40   Filed 02/26/19   Page 8 of 13
Case 19-10128   Doc# 40   Filed 02/26/19   Page 9 of 13
Case 19-10128   Doc# 40   Filed 02/26/19   Page 10 of 13
Case 19-10128   Doc# 40   Filed 02/26/19   Page 11 of 13
Case 19-10128   Doc# 40   Filed 02/26/19   Page 12 of 13
Case 19-10128   Doc# 40   Filed 02/26/19   Page 13 of 13
